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           ORDERED in the Southern District of Florida on February 3, 2020.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
                           UNITED STATES BANKRUPTCY COURT
_____________________________________________________________________________
                                       SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION


           IN RE:                                                CASE NO. 18-22945-AJC

           PEDRO E. ALVAREZ                                      CHAPTER 7
           a/k/a PEDRO ALVAREZ
           a/k/a PEDRO EMILIO ALVAREZ
           a/k/a PEDRO EMILIO ALVAREZ GONZALEZ
           a/k/a PEDRO ALVAREZ GONZALEZ
           a/k/a PEDRO E. ALVAREZ GONZALEZ,

                    Debtor.

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                          AGREED ORDER GRANTING JPMORGAN CHASE BANK'S
                         MOTION FOR RELIEF FROM AUTOMATIC STAY (DOC. NO. 39)

                    THIS CASE came on for hearing on December 5, 2019 at 10:30 a.m. upon the Motion
           for Relief from Automatic Stay filed by JPMorgan Chase Bank, National Association, its
           Successors and/or Assigns ("Secured Creditor") (Doc. No. 39), and the Response thereto (the
           "Response") filed by Drew M. Dillworth, the Chapter 7 Trustee (Doc. No. 40). The Court having
           reviewed the record and being advised of the agreement of the parties to the terms contained
           herein, it is,
                   ORDERED:
                    1.      The Motion is GRANTED IN PART, as more fully set forth herein-below.
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